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                           UNITED STATES DISTRICT COURT
                                 District of Connecticut
               AMENDED JUDGMENT JUDGMENT IN A CRIMINAL CASE


UNITED STATES OF AMERICA                                 Case Nos.: 3:21-cr-00048-JAM-1
                                                                    3:22-cr-00153-JAM-1

                                                         USM No.: 42097-509
v.

NICOLE M. STEINER, aka
NICOLE M. BALKAS                                         David Tien-Wei Huang, Assistant U.S. Attorney

                                                         Stephen V. Manning, Defendant’s Attorney

Date of Original Judgment: November 14, 2022

Reason for Amendment: Correction of clerical error regarding title and section of the offenses (Fed. R.
Crim. P. 36)


Defendant pled guilty to Count 1 of the information filed in case number 3:21-cr-00048-JAM-1 and
Count 1 of the information filed in case number 3:22-cr-00153-JAM-1.

Accordingly, the defendant is adjudicated guilty of the following offenses:

     Title & Section              Nature of Offense             Offense Concluded          Count
 Title 18, United States          Health Care Fraud               October 28, 2020         1 of the
      Code, §§1347                                                                     information in
                                                                                       3:21cr48(JAM)


 Title 18, United States          Health Care Fraud              February 17, 2022        1 of the
    Code, §1347 and                                                                    information in
         3147(l)                                                                      3:22cr153(JAM)


The following sentence is a variance from the U.S. Sentencing Guidelines and is imposed pursuant to the
Sentencing Reform Act of 1984.

IMPRISONMENT
Defendant is ordered committed to the custody of the Federal Bureau of Prisons to be imprisoned for 24
months in the matter of 3:21-cr-00048-JAM-1 and 14 months in the matter of 3:22-cr-00153-JAM-1 of
which the first 2 months to be served concurrent with the sentence imposed in 3:21-cr-00048-JAM-1 and
the remaining 12 months to be served consecutive to the sentence imposed in 3:21-cr-00048-JAM-1 for a
total effective sentence of 36 months.


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SUPERVISED RELEASE
Upon release from imprisonment, Defendant shall be on Supervised Release for a total term of 3 years.

The Mandatory and Standard Conditions of Supervised Release as attached are imposed. In addition, the
following Special Conditions are imposed:

1. You must complete 150 hours of community service within the first 3 years of supervision.
   The community service hours shall be completed at a program approved, in advance, by the
   United States Probation Office. The probation officer will supervise the participation in the
   community service program by approving the program. You must provide written verification
   of completed community service hours to the probation officer.

2. You must not incur new credit card charges above $500 or open additional lines of credit
   without the approval of the probation officer. You must not add any new names to any lines of
   credit, and you must not be added as a secondary card holder on another's line of credit.

3. You must provide the probation officer access to any requested financial information and
   authorize the release of any financial information. The Probation Office may share financial
   information with the U.S. Attorney’s Office.

4. You must not encumber personal homes or investment properties without the permission of
   the Court and shall not transfer, sell, give away, barter, or dissipate in any way any assets,
   including personal property (ie: motor vehicles, recreational vehicles) without the express
   permission of the probation officer and notification to the Court.

5. You must pay any restitution that is imposed by this judgment in a lump sum. If you are unable
   to pay the full balance in a lump sum, any remaining balance is payable at a rate of not less
   than $200 per month or 10% of your gross monthly income, whichever is greater, during your
   term of supervised release. The monthly payment schedule may be adjusted based on your
   ability to pay as determined by the probation officer and approved by the Court.

6. You must participate in a program recommended by the Probation Office and approved by the
   Court for mental health treatment. You must follow the rules and regulations of that program.
   The probation officer, in consultation with the treatment provider, will supervise your
   participation in the program. You must pay all or a portion of costs associated with treatment
   based on your ability to pay as recommended by the probation officer and approved by the
   Court.

7. You must participate in a cognitive-behavioral treatment program recommended by the
   Probation Office and approved by the Court. You must follow the rules and regulations of that
   program. The probation officer, in consultation with the treatment provider, will supervise your
   participation in the program. You must pay all or a portion of costs associated with treatment
   based on your ability to pay as recommended by the probation officer and approved by the
   Court.

8. You may not work as a behavioral technician or in a behavioral services related field.


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9. You may not work in any capacity that involves billing Medicaid related services or any health
   insurance related services, whether such health insurance is private or government-funded. To
   the extent that you secure employment, it shall be W-2 employment, and paystubs are to be
   provided to the Probation Office as requested.

CRIMINAL MONETARY PENALTIES
Defendant must pay the total criminal monetary penalties under the schedule of payments as follows:

        Special Assessment:      $100.00 is imposed for each count for a total of $200.00
                                 to be paid to the Clerk of the Court.
        Fine:                    Waived
        Restitution:             $497,460.90 in 3:21-cr-00048-JAM-1 plus
                                 $8,494.66 in 3:22-cr-00153-JAM-1 for total restitution of $505,955.56.
                                 Separate restitution orders shall follow in each of the cases.

It is further ordered that Defendant will notify the United States Attorney for this District within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this Judgment are paid.

The following Counts have been dismissed: NA

JUDICIAL RECOMMENDATION TO THE BUREAU OF PRISONS
The Court recommends Defendant be designated to the Camp at FCI Danbury to maintain family
relationships.

                                                  Date of Imposition of Sentence: November 1, 2022


                                                  __/s/____________________________________
                                                  Jeffrey A. Meyer, United States District Judge

                                                  Date: November 22, 2022




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                                 CONDITIONS OF SUPERVISION

In addition to the Standard Conditions listed below, the following indicated () Mandatory
Conditions are imposed:
                                    MANDATORY CONDITIONS
1. You shall not commit another federal, state or local crime.
2. You shall not unlawfully possess a controlled substance.
3. You shall refrain from any unlawful use of a controlled substance. You must submit to one
    drug test within 15 days of release from imprisonment and at least two periodic drug tests
    thereafter, as determined by the court.
    ☐ The above drug testing condition is suspended, based on the court’s determination that you
    pose a low risk of future substance abuse. (check if applicable)
4.  You must make restitution in accordance with 18 U.S.C.§§ 3663 and 3663A or any other
    statute authorizing a sentence of restitution. (check if applicable)
5.  You must cooperate in the collection of DNA as directed by the Bureau of Prisons or
    probation officer. (check if applicable)
6. ☐ You must comply with the requirements of the Sex Offender Registration and Notification
    Act (34 U.S.C. § 20901, et seq.) as directed by the probation officer, the Bureau of Prisons,
    or any state sex offender registration agency in the location where you reside, work, are a
    student, or were convicted of a qualifying offense. (check if applicable)
7. ☐ You must participate in an approved program for domestic violence. (check if applicable)

                                     STANDARD CONDITIONS

As part of your supervised release, you must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for your behavior
while on supervision and identify the minimum tools needed by probation officers to keep informed,
report to the court about, and bring about improvements in your conduct and condition.
1. You must report to the probation office in the federal judicial district where you are
   authorized to reside within 72 hours of your release from imprisonment, unless the probation
   officer instructs you to report to a different probation office or within a different time frame.
2. After initially reporting to the probation office, you will receive instructions from the court or
   the probation officer about how and when you must report to the probation officer, and you
   must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside
   without first getting permission from the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you
   live or anything about your living arrangements (such as the people you live with), you must
   notify the probation officer at least 10 days before the change. If notifying the probation
   officer in advance is not possible due to unanticipated circumstances, you must notify the
   probation officer within 72 hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and
   you must permit the probation officer to take any items prohibited by the conditions of your
   supervision that he or she observes in plain view.


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7. You must work full time (at least 30 hours per week) at a lawful type of employment unless
    the probation officer excuses you from doing so. If you do not have full-time employment
    you must try to find full-time employment, unless the probation officer excuses you from
    doing so. If you plan to change where you work or anything about your work (such as your
    position or your job responsibilities), you must notify the probation officer at least 10 days
    before the change. If notifying the probation officer at least 10 days in advance is not
    possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal
    activity. If you know someone has been convicted of a felony, you must not knowingly
    communicate or interact with that person without first getting the permission of the probation
    officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation
    officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or
    dangerous weapon (i.e., anything that was designed or was modified for, the specific purpose
    of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a
    confidential human source or informant without first getting the permission of the court.
12. You must follow the instructions of the probation officer related to the conditions of
    supervision.




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Upon a finding of a violation of supervised release, I understand that the court may (1) revoke supervision
and impose a term of imprisonment, (2) extend the term of supervision, and/or (3) modify the conditions
of supervision.

These conditions have been read to me. I fully understand the conditions and have been provided a copy
of them.

      (Signed)
                 Defendant                                                           Date



                 U.S. Probation Officer/Designated Witness                           Date




CERTIFIED AS A TRUE COPY ON THIS DATE: ______________________
By: ___________________________
     Deputy Clerk




RETURN

I have executed this judgment as follows:

Defendant delivered on _______________ to ______________________________ a
__________________________, with a certified copy of this judgment.



                                                                               Lawrence Bobnick
                                                                          Acting United States Marshal


                                                             By
                                                                                 Deputy Marshal




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